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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

JACQUELINE BURGE,

           Plaintiff,

vs.
                                                  Case No.: 5:22-cv-00141-BJD-PRL
RICKY DIXON, in his official capacity as
Secretary of the Florida Department of
Corrections, CENTURION OF FLORIDA,
LLC, MHM HEALTH PROFESSIONALS,
LLC, S. BAKER, JENNIFER HAYES, and
JOSE R. RODRIQUEZ, M.D.,

           Defendants.

 CENTURION DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
    TO PLAINTIFF’S COMPLAINT FOR INJUNCTIVE RELIEF AND
      DAMAGES AND DEMAND FOR JURY TRIAL [ECF NO. 1]

      Defendants Centurion of Florida, LLC, MHM Health Professionals, LLC, S.

Baker, Jennifer Hayes, and Jose R. Rodriquez, M.D. (the “Centurion Defendants”)

file this Answer and Affirmative Defenses to the Complaint for Injunctive Relief and

Damages (the “Complaint”) and state as follows:

                                     ANSWER

      The Centurion Defendants object to and deny the allegations contained in the

unnumbered Introduction paragraph.

                              Jurisdiction and Venue

      1.       Admitted the Complaint is so styled. Denied that the Centurion

Defendants violated Jacqueline Burge’s constitutional rights.

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      2.     The allegation in paragraph 2 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      3.     The allegations in paragraph 3 are a legal conclusion to which no

response is required. To the extent a response is required, admitted this Court has

jurisdiction over Plaintiff’s Complaint.

      4.     Admitted for purposes of venue that the claims alleged in this Complaint

arose in this District, otherwise denied.

      5.     Without knowledge, therefore denied.

                                       PARTIES

      6.     Upon information and belief, admitted.

      7.     The allegations in this paragraph do not pertain to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

without knowledge, therefore denied.

      8.     The allegations in this paragraph do not pertain to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

without knowledge, therefore denied.

      9.     The allegations in this paragraph do not pertain to the Centurion

Defendants and therefore no response is required. Further, the allegation in paragraph

9 is a legal conclusion to which no response is required. To the extent a response is

required, denied.

      10.    Centurion of Florida, LLC states that Centene Corporation, a publicly

traded company, is the parent corporation of Centurion of Florida, LLC and is
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registered as a foreign limited liability company with the State of Florida. Otherwise,

denied.

      11.    Centurion states that it operates pursuant to a contract with the Florida

Department of Corrections to provide contractually-specified healthcare services at

certain correctional institutions in Florida, including Lowell Correctional Institution.

Otherwise, denied.

      12.    The allegation in paragraph 12 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      13.    The allegation in paragraph 13 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      14.    Admitted that MHM Health Professionals, LLC is a wholly-owned

subsidiary of MHM Services, Inc., which is a wholly-owned subsidiary of Centene

Corporation. Otherwise, denied.

      15.    MHM Health Professionals, LLC provides staff pursuant to Centurion

of Florida, LLC’s contract with the Florida Department of Corrections. Otherwise,

denied.

      16.    The allegation in paragraph 16 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      17.    Admitted to the extent Dr. Rodriguez worked as a site medical

director/chief health officer pursuant to Centurion of Florida, LLC’s contract with the

Florida Department of Corrections. Otherwise, denied.

      18.    Without knowledge, therefore denied.
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      19.    Admitted the Complaint is so styled.

      20.    The allegation in paragraph 20 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      21.    Admitted to the extent S. Baker worked as a consult coordinator pursuant

to Centurion of Florida, LLC’s contract with the Florida Department of Corrections.

Otherwise, denied.

      22.    Without knowledge, therefore denied.

      23.    Admitted the Complaint is so styled.

      24.    The allegation in paragraph 24 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      25.    Admitted to the extent Jennifer Hayes worked as a consult coordinator

pursuant to Centurion of Florida, LLC’s contract with the Florida Department of

Corrections. Otherwise, denied.

      26.    Without knowledge, therefore denied.

      27.    Admitted the Complaint is so styled.

      28.    The allegation in paragraph 28 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      29.    The allegation in paragraph 29 is a legal conclusion to which no response

is required. To the extent a response is required, denied.

      30.    Denied.

      31.    Denied.


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                                RELEVANT FACTS

      32.    The Centurion Defendants state the medical records speak for themselves

and deny any allegation inconsistent with or contrary to those records. Without

knowledge, therefore denied.

      33.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      34.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      35.    Admitted to the extent that Dr. Rodriguez worked pursuant to Centurion

of Florida, LLC’s contract with the Florida Department of Corrections. Further, it is

admitted to the extent that the medical records from which these factual allegations

are drawn speak for themselves. Otherwise, the Centurion Defendants deny any

allegation inconsistent with or contrary to those records.

      36.    Denied.

      37.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      38.    Denied.




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      39.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      40.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      41.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      42.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      43.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      44.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      45.    Without knowledge, therefore denied.

      46.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.
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      47.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      48.    Without knowledge, therefore denied.

      49.    Denied.

      50.    Denied.

      51.    Denied.

      52.    Denied.

      53.    Admitted only to the extent that the medical records from which these

factual allegations are drawn speak for themselves. Otherwise, the Centurion

Defendants deny any allegation inconsistent with or contrary to those records.

      54.    Denied.

      55.    Denied.

      56.    Denied.

      57.    Admitted that Plaintiff is scheduled to be released from prison in or

around September 2022, otherwise denied.

      58.    Denied.

      59.    Without knowledge, therefore denied.

                              CAUSES OF ACTION

                                     Count I
                Violation of 42 U.S.C. § 1983-Eighth Amendment
                      (against Centurion and MHM Health)

      Centurion Defendants incorporate the responses in paragraphs 1–59.
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      60.    The Eighth Amendment speaks for itself. As such, no response is

required. To the extent a response is required, denied.

      61.    The allegations of paragraph 61 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      62.    The allegations of paragraph 62 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      63.    Denied.

      64.    Denied.

      65.    Denied.

      66.    The allegations of paragraph 66 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      67.    The allegations of paragraph 67 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      68.    The allegations of paragraph 68 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      69.    Denied.

      70.    Admitted only to the extent that 42 U.S.C. §§ 1983 and 1988 speak for

themselves. Otherwise, denied.

      The Centurion Defendants deny the allegations contained in the unnumbered

Wherefore clause.




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                                     Count II
                Violation of 42 U.S.C. § 1983 – Eighth Amendment
                                  (against Dixon)

      Centurion Defendants incorporate the responses in paragraphs 1–70.

      71.    The allegations in this paragraph are not directed to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

denied.

      72.    The allegations in this paragraph are not directed to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

denied.

      73.    The allegations in this paragraph are not directed to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

denied.

      74.    The allegations in this paragraph are not directed to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

denied.

      75.    The allegations in this paragraph are not directed to the Centurion

Defendants and therefore no response is required. To the extent a response is required,

admitted only to the extent that 42 U.S.C. §§ 1983 and 1988 speak for themselves.

Otherwise, denied.

      The allegations in the unnumbered Wherefore clause are not directed to the

Centurion Defendants and therefore no response is required. To the extent a response


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is required, denied.

                                    Count III
                Violation of 42 U.S.C. § 1983 - Eighth Amendment
                      (against Rodriguez, Baker, and Hayes)

      Centurion Defendants incorporate the responses in paragraphs 1–70.

      76.    Denied.

      77.    Denied.

      78.    The allegations of paragraph 78 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      79.    Denied.

      80.    Denied.

      81.    The allegations of paragraph 81 are a legal conclusion to which no

response is required. To the extent a response is required, denied.

      82.    Admitted only to the extent that 42 U.S.C. §§ 1983 and 1988 speak for

themselves. Otherwise, denied.

      The Centurion Defendants deny the allegations contained in the unnumbered

Wherefore clause.

                                  JURY DEMAND

      The Centurion Defendants demand a trial by jury on all issues so triable.

                            AFFIRMATIVE DEFENSES

                                  FIRST DEFENSE

      Plaintiff’s Complaint fails to state a claim upon which relief can be granted and

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should, therefore, be dismissed under Federal Rule of Civil Procedure 12(b)(6).

                                 SECOND DEFENSE

       Plaintiff’s Complaint fails to state facts against the Centurion Defendants that

would rise to the level of a constitutional or statutory deprivation under the laws of the

United States, the Constitution of the United States, the laws of Florida, or the

Constitution of Florida.

                                  THIRD DEFENSE

       Plaintiff fails to establish that the Centurion Defendants were independently

liable for a violation of § 1983 and fails to satisfy all elements of the claim. Plaintiff,

therefore, fails to establish and cannot establish that the Centurion Defendants violated

her constitutional rights.

                                 FOURTH DEFENSE

       The Centurion Defendants are not liable for the acts or omissions of any other

person.

                                   FIFTH DEFENSE

       The Centurion Defendants, to the extent applicable, asserts all affirmative

defenses listed in Rule 8(c)(1) of the Federal Rules of Civil Procedure, which includes:

accord and satisfaction, arbitration and award, assumption of risk, contributory

negligence, duress, estoppel, failure of consideration, fraud, illegality, injury by fellow

servant, laches, license, payment, release, res judicata, statute of frauds, statute of

limitations, and waiver.


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                                 SIXTH DEFENSE

      The damages allegedly suffered by Plaintiff, if any, were the result of her own

acts and/or his failure to mitigate his damages.

                               SEVENTH DEFENSE

      Plaintiff cannot establish that the Centurion Defendants acted with a deliberate

indifference to her serious medical need.

                                EIGHTH DEFENSE

      Any purported injury to Plaintiff was not caused by the Centurion Defendants

and, instead, was caused by other factors including, but not limited to, other actors.

                                 NINTH DEFENSE

      The Centurion Defendants are immune under the federal doctrines of qualified

immunity and sovereign immunity.

                                 TENTH DEFENSE

      The Centurion Defendants are immune under Florida State law, including, but

not limited to, Florida’s sovereign immunity statute, which immunizes the Centurion

Defendants and places a cap on Plaintiff’s damages.

                              ELEVENTH DEFENSE

      Plaintiff’s Complaint is barred to the extent she failed to exhaust administrative

remedies pursuant to 42 U.S.C § 1997e(a).

                               TWELFTH DEFENSE

      The Centurion Defendants assert that some or all of Plaintiff’s claims are barred


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by the applicable statute of limitations.

                          RESERVATION OF DEFENSES

      The Centurion Defendants reserve the right to affirmatively plead all other

defenses and affirmative defenses available to them that may become applicable

through discovery and during the trial of this cause.

                                 GENERAL DENIAL

      To the extent not expressly admitted above, the Centurion Defendants deny

every other allegation in the Complaint that makes a claim against them. The

Centurion Defendants deny any claim or allegation that they denied Plaintiff needed

medical care or that they acted with deliberate indifference to any serious medical need

of Plaintiff. The Centurion Defendants also deny that they denied Plaintiff due process

or any other right. The Centurion Defendants further deny that Plaintiff is entitled to

any relief whatsoever.

                                  Respectfully Submitted,

                                  /s/ Jacob B. Hanson
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                               Counsel for Defendants Centurion of Florida, LLC,
                               MHM Health Professionals, LLC, S. Baker, Jennifer
                               Hayes, and Jose R. Rodriquez, M.D.



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 24, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification to

counsel of record.


                               Jacob B. Hanson
                               Counsel for Defendants Centurion of Florida, LLC,
                               MHM Health Professionals, LLC, S. Baker, Jennifer
                               Hayes, and Jose R. Rodriquez, M.D.




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